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                          UNITED STATES DISTRICT COURT
                           NORTHERN DISTRICT OF TEXAS
                                DALLAS DIVISION

WILLIAM SCOTT GARRISON,                     §
#00814619,                                  §
                                            §
             Plaintiff,                     §
                                            §   Civil Action No. 3:24-CV-0700-X-BT
v.                                          §
                                            §
JOHN DOE, et al.,                           §
                                            §
              Defendants.                   §

         ORDER ACCEPTING FINDINGS, CONCLUSIONS, AND
      RECOMMENDATION OF THE UNITED STATES MAGISTRATE
                           JUDGE

      The United States Magistrate Judge made findings, conclusions, and a

recommendation in this case.   (Doc. No. 21).   Magistrate Judge Rebecca Rutherford

recommended dismissing Petitioner William Scott Garrison’s petition as frivolous

under 28 U.S.C. § 1915A and 28 U.S.C. § (e)(2)(B).      Garrison has since filed 21

documents to the Court, which the Court interprets as objections.

      The District Court reviewed de novo those portions of the proposed findings,

conclusions, and recommendation to which objection was made, and reviewed the

remaining proposed findings, conclusions, and recommendation for plain error.

Finding none, the Court ACCEPTS the Findings, Conclusions, and Recommendation

of the United States Magistrate Judge.      Accordingly, the Court DISMISSES WITH

PREJUDICE Petitioner William Scott Garrison’s petition as frivolous under 28

U.S.C. § 1915A and 28 U.S.C. § (e)(2)(B).


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     IT IS SO ORDERED this 13th day of August, 2024.




                                  ____________________________________
                                  BRANTLEY STARR
                                  UNITED STATES DISTRICT JUDGE




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